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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



AFSANEH AZADEH                )
                              )
                              )
             Plaintiff        )
                              )         Civil Action No.: 16-CV-1467
       v.                     )
                              )
THE GOVERNMENT OF THE         )
ISLAMIC REPUBLIC OF IRAN,     )
                              )
                              )
       and                    )
                              )
THE ARMY OF THE GUARDIANS     )
OF THE ISLAMIC REVOLUTION     )
                              )
                              )
             Defendants       )
                              )


  PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSION OF LAW IN
           SUPPORT OF HER MOTION FOR DEFAULT JUDGMENT




            **FILED UNDER SEAL
        PENDING COURT’S RULING ON
   PLAINTIFF’S MOTION FOR LEAVE TO FILE
         DOCUMENTS UNDER SEAL**
